This document was signed electronically on August 13, 2019, which may be different from its
entry on the record.


IT IS SO ORDERED.

Dated: August 13, 2019




                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

In re:                                               Case No.: 17-50236

Louis Anthony Telerico                               Chapter 7

                                                     Judge Alan M. Koschik
         Debtor(s).                                  *****************
                                                       ORDER GRANTING MOTION FOR
                                                           RELIEF FROM STAY AND
                                                     ABANDONMENT (FIRST MORTGAGE)
                                                               (DOCKET NO. 169)

                                                     545 Bristol Drive, Aurora, OH 44202


         This matter came to be considered on the Motion for Relief from Stay and Abandonment

(the "Motion") filed by Bank Of America, N.A. ("Creditor") (Docket 169). Creditor has alleged

that good cause for granting the Motion exists, and that Louis Anthony Telerico (''Debtor''),

counsel for the Debtor, the Chapter 7 Trustee, and all other necessary parties were served with

the Motion and with notice of the hearing date of the Motion.




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       The Debtor filed an Objection to the Motion, the case has since converted to a Chapter 7

and a hearing was held before this court on June 5, 2019 at which time Debtor’s objection was

overruled. For these reasons, it is appropriate to grant the relief requested.

       IT IS, THEREFORE, ORDERED that the Motion is granted. The automatic stay

imposed by § 362 of the Bankruptcy Code is terminated with respect to the Creditor, its

successors and assigns.

       IT IS FURTHER ORDERED that the Chapter 7 Trustee’s abandonment the property

located at 545 Bristol Drive, Aurora, OH 44202 is held in abeyance.


                                                ###


SUBMITTED BY:

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